Case 6:10-cr-00017-JCB-JDL          Document 406        Filed 11/02/16      Page 1 of 8 PageID #:
                                           1595



                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
                                                  § CASE NUMBER 6:10-CR-00017-RC
v.                                                §
                                                  §
                                                  §
LESLIE DEWAYNE BUTLER,                            §
                                                  §

         REPORT AND RECOMMENDATION ON PETITION FOR WARRANT
                   FOR OFFENDER UNDER SUPERVISION

       Pending is a “Petition for Warrant or Summons for Offender Under Supervision” filed

June 3, 2016, alleging that the Defendant, Leslie Dewayne Butler, violated his conditions of

supervised release. This matter is referred to the undersigned United States magistrate judge for

review, hearing, and submission of a report with recommended findings of fact and conclusions

of law. See United States v. Rodriguez, 23 F.3d 919, 920 n.1 (5th Cir. 1994); see also 18 U.S.C.

§ 3401(I) (2000); Local Rules for the Assignment of Duties to United States Magistrate Judges.

                           I. The Original Conviction and Sentence

       Leslie Dewayne Butler was sentenced on December 2, 2010, before The Honorable

Michael H. Schneider, of the Eastern District of Texas, after pleading guilty to the offense of

Possession of a List 1 Chemical, a Class C felony. This offense carried a statutory maximum

imprisonment term of 20 years. The guideline imprisonment range, based on a total offense

level of 29 and a criminal history category of I, was 87 to 108 months. Leslie Dewayne Butler

was subsequently sentenced to 70 months of imprisonment followed by a 3 year term of

supervised release subject to the standard conditions of release, plus special conditions to include
Case 6:10-cr-00017-JCB-JDL         Document 406        Filed 11/02/16     Page 2 of 8 PageID #:
                                          1596



financial disclosure, substance abuse treatment and testing and mental health treatment and a

$100 special assessment.

                                    II. The Period of Supervision

       On January 31, 2014, Leslie Dewayne Butler completed his period of imprisonment and

began service of the supervision term.

                                         III. The Petition

       United States Probation filed the Petition for Warrant for Offender Under Supervision

raising seven allegations. The petition alleges that Leslie Dewayne Butler violated the following

conditions of release:

       Allegation 1. The defendant shall report to the probation officer as directed by the
       court and submit a truthful and complete written report within the first five days
       of each month.

       Allegation 2. The defendant shall work regularly at a lawful occupation unless
       excused by the probation officer for schooling, training or other acceptable
       reasons.

       Allegation 3. The defendant shall notify the probation officer ten days prior to any
       change of residence or employment.

       Allegation 4. The defendant shall refrain from excessive use of alcohol and shall
       not purchase, possess, use, distribute, or administer any controlled substance or
       any paraphernalia related to any controlled substances, except as prescribed by a
       physician.

       Allegation 5. The defendant shall permit a probation officer to visit at any time at
       home or elsewhere and shall permit confiscation of any contraband observed in
       plain view by the probation officer.

        Allegation 6. The Defendant shall participate in a program of testing and
       treatment for drug abuse, as directed by the probation officer, until such time as
       the defendant is released from the program by the probation officer.

       Allegation 7. The Defendant shall reside in a residential reentry center or similar
       facility, in a community corrections component, for a period of 180 days to

                                                -2-
Case 6:10-cr-00017-JCB-JDL          Document 406        Filed 11/02/16      Page 3 of 8 PageID #:
                                           1597



       commence immediately and shall abide by the rules and regulations of the center,
       and shall also pay subsistence according to the U.S. Bureau of Prisons’
       guidelines.


                                        IV. Proceedings

       On November 2, 2016, the undersigned convened a hearing pursuant to Rule 32.1 of the

Federal Rules of Criminal Procedure to hear evidence and arguments on whether the Defendant

violated conditions of supervised release, and the appropriate course of action for any such

violations.

       At the revocation hearing, counsel for the Government and the Defendant announced an

agreement as to a recommended disposition regarding the revocation. The Defendant agreed to

plead “true” to the fourth allegation that claimed he failed to refrain from using

methamphetamine. In return, the parties agreed that he should serve a term of imprisonment of

8 months of imprisonment, with no supervised release to follow.

                                    V. Principles of Analysis

       According to Title 18 U.S.C. § 3583(e)(3), the court may revoke a term of supervised

release and require the defendant to serve in prison all or part of the term of supervised release

authorized by statute for the offense that resulted in such term of supervised release without

credit for time previously served on post-release supervision, if the court, pursuant to the Federal

Rules of Criminal Procedure applicable to revocation of probation or supervised release, finds by

a preponderance of the evidence that the defendant violated a condition of supervised release,

except that a defendant whose term is revoked under this paragraph may not be required to serve

on any such revocation more than five years in prison if the offense that resulted in the term of



                                            -3-
Case 6:10-cr-00017-JCB-JDL              Document 406           Filed 11/02/16        Page 4 of 8 PageID #:
                                               1598



supervised release is a Class A felony, more than three years if such offense is a Class B felony,

more than two years in prison if such offense is a Class C or D felony, or more than one year in

any other case. The original offense of conviction was a Class C felony, therefore, the maximum

imprisonment sentence is 2 years.

        According to U.S.S.G. § 7B1.1(a) 1, if the court finds by a preponderance of the evidence

that the Defendant violated conditions of supervision by failing to refrain from using

methamphetamine, the Defendant will be guilty of committing a Grade B violation. U.S.S.G. §

7B1.3(a)(2) indicates that upon a finding of a Grade B violation, the court may (A) revoke

probation or supervised release; or (B) extend the term of probation or supervised release and/or

modify the conditions of supervision.

        U.S.S.G. § 7B1.4(a) provides that in the case of revocation of supervised release based on

a Grade B violation and a criminal history category of I, the policy statement imprisonment

range is 4 to 10 months.

        According to U.S.S.G. § 7B1.3(c)(1), where the minimum term of imprisonment

determined under U.S.S.G. § 7B1.4 is at least one month but not more than six months, the

minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of

imprisonment that includes a term of supervised release with a condition that substitutes

community confinement or home detention according to the schedule in U.S.S.G. § 5C1.1(e), for

any portion of the minimum term.

        According to U.S.S.G. § 7B1.3(c)(2), where the minimum term of imprisonment

determined under U.S.S.G. § 7B1.4 is more than six months but not more than ten months, the

1. All of the policy statements in Chapter 7 that govern sentences imposed upon revocation of supervised release
are non-binding. See U.S.S.G. Ch. 7 Pt. A; United States v. Price, 519 F. App’x 560, 562 (11th Cir. 2013).

                                                      -4-
Case 6:10-cr-00017-JCB-JDL         Document 406        Filed 11/02/16         Page 5 of 8 PageID #:
                                          1599



minimum term may be satisfied by (A) a sentence of imprisonment; or (B) a sentence of

imprisonment that includes a term of supervised release with a condition that substitutes

community confinement or home detention according to the schedule in U.S.S.G. § 5C1.1(e),

provided that at least one-half of the minimum term is satisfied by imprisonment.

       U.S.S.G. § 7B1.3(c)(3) indicates in the case of a revocation based, at least in part, on a

violation of a condition specifically pertaining to community confinement, intermittent

confinement, or home detention, use of the same or a less restrictive sanction is not

recommended.

       According to U.S.S.G. § 7B1.3(d), any restitution, fine, community confinement, home

detention, or intermittent confinement previously imposed in connection with a sentence for

which revocation is ordered that remains unpaid or unserved at the time of revocation shall be

ordered to be paid or served in addition to the sanction determined under U.S.S.G. § 7B1.4 and

any such unserved period of community confinement, home detention, or intermittent

confinement may be converted to an equivalent period of imprisonment.

       U.S.S.G. § 7B1.1(b) indicates where there is more than one violation of the conditions of

supervision, or the violation includes conduct that constitutes more than one offense, the grade of

the violation is determined by the violation having the most serious grade.

       According to U.S.S.G. § 7B1.3(f) any term of imprisonment imposed upon revocation of

probation or supervised release shall be ordered to be served consecutively to any sentence of

imprisonment that the defendant is serving, whether or not the sentence of imprisonment being

served resulted from the conduct that is the basis of the revocation of probation or supervised

release.


                                                -5-
Case 6:10-cr-00017-JCB-JDL          Document 406        Filed 11/02/16      Page 6 of 8 PageID #:
                                           1600



       According to 18 U.S.C. § 3583(h), when a term of supervised release is revoked and the

defendant is required to serve a term of imprisonment, the court may include a requirement that

the defendant be placed on a term of supervised release after imprisonment. The length of such a

term of supervised release shall not exceed the term of supervised release authorized by statute

for the offense that resulted in the original term of supervised release, less any term of

imprisonment that was imposed upon revocation of supervised release. The authorized term of

supervised release for this offense is not more than 2 years.

       U.S.S.G. § 7B1.3(g)(2) indicates where supervised release is revoked and the term of

imprisonment imposed is less than the maximum term of imprisonment imposable upon

revocation, the court may include a requirement that the defendant be placed on a term of

supervised release upon release from imprisonment. The length of such a term of supervised

release shall not exceed the term of supervised release authorized by statute for the offense that

resulted in the original term of supervised release, less any term of imprisonment that was

imposed upon revocation of supervised release.

       In determining the Defendant’s sentence, the court shall consider:

       1. The nature and circumstance of the offense and the history and characteristics of the
          defendant; see 18 U.S.C. § 3553(a)(1);

       2. The need for the sentence imposed: to afford adequate deterrence to criminal conduct;
          to protect the public from further crimes of the defendant; and to provide the
          Defendant with needed educational or vocational training, medical care, other
          corrective treatment in the most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-
          (D);

       3. Applicable guidelines and policy statements issued by the Sentencing Commission,
          for the appropriate application of the provisions when modifying or revoking
          supervised release pursuant to 28 U.S.C. § 994(a)(3), that are in effect on the date the
          defendant is sentenced; see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);




                                                -6-
Case 6:10-cr-00017-JCB-JDL          Document 406       Filed 11/02/16      Page 7 of 8 PageID #:
                                           1601



       4. Any pertinent policy statement issued by the Sentencing Commission, pursuant to 28
          U.S.C. § 994(a)(2), that is in effect on the date the defendant is sentenced; see 18
          U.S.C. § 3553(a)(5); and

       5. The need to avoid unwarranted sentence disparities among defendants with similar
          records who have been found guilty of similar conduct; see 18 U.S.C. § 3553(a)(6).

       6. The need to provide restitution to any victims of the offense.

18 U.S.C. §§ 3583(e) and 3553(a).
                                        VI. Application

       The Defendant pled “true” to the petition’s allegation that he violated a standard

condition of release by using methamphetamine. Based upon the Defendant’s plea of “true” to

this allegation of the Petition for Warrant or Summons for Offender Under Supervision and

U.S.S.G. § 7B1.1(a), the undersigned finds that the Defendant violated a condition of supervised

release.

       The undersigned has carefully considered each of the factors listed in 18 U.S.C. §§

3583(e). The Defendant’s violation is a Grade B violation, and the criminal history category is I.

The policy statement range in the Guidelines Manual is 4 to 10 months. The Defendant did not

comply with the conditions of supervision and has demonstrated an unwillingness to adhere to

conditions of supervision.

       Consequently, incarceration appropriately addresses the Defendant’s violation. The

sentencing objectives of punishment, deterrence and rehabilitation along with the

aforementioned statutory sentencing factors will best be served by a prison sentence of 8 months,

with no term of supervised release to follow.

                                    VII. Recommendations

       The court should find that the Defendant violated the allegation in the petition that he

violated a standard condition of release by using methamphetamine. The petition should be


                                                -7-
Case 6:10-cr-00017-JCB-JDL          Document 406        Filed 11/02/16      Page 8 of 8 PageID #:
                                           1602



granted and the Defendant’s supervised release should be revoked pursuant to 18 U.S.C. § 3583.

The Defendant should be sentenced to a term of 8 months of imprisonment, with no term of

supervised release to follow. The Defendant requested to serve his prison term at the Federal

Correctional Institution in El Reno to facilitate family visitation and for continuity of

incarceration. The Defendant’s request should be accommodated, if possible.

                                         VIII. Objections
       Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file

objections to this report and recommendation. Objections to this report must: (1) be in writing,

(2) specifically identify those findings or recommendations to which the party objects, and (3) be

served and filed within fourteen (14) days after being served with a copy of this report, and (4)

no more than eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P.

72(b)(2); Local Rule CV-72(c). A party who objects to this report is entitled to a de novo

determination by the United States District Judge of those proposed findings and

recommendations to which a specific objection is timely made. See 28 U.S.C. § 636(b)(1)

(2009); FED R. CIV. P. 72(b)(3).

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

findings of fact and conclusions of law accepted by the United States District Judge, see

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).

                     So ORDERED and SIGNED this 2nd day of November, 2016.



                                                 -8-
